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15                      UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
16
                                  (San Diego)
17
18 AL OTRO LADO, Inc., et al.,                   Case No. 3:17-cv-02366-BAS-KSC

19                                 Plaintiffs,   Hon. Cynthia A. Bashant
20                                             DEFENDANTS’ SUPPLEMENTAL
                         v.                    RESPONSE TO THIS COURT’S
21
                                               SEPTEMBER 3, 2021 ORDER (ECF
22 ALEJANDRO        MAYORKAS,      Secretary,  No. 743)
23
   U.S. Department    of Homeland Security, in
   his official capacity, et al.,
24
25                                 Defendants
26
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28
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 1           In its September 3, 2021 Order (ECF No. 734) (“Sealing Order”), the Court

 2    issued various rulings pertaining to the parties’ motions to seal their summary
 3    judgment papers. As relevant here, in Section C of that Sealing Order, this Court
 4    accepted Defendants’ designated redactions for transcripts of deposition testimony
 5    and other reports attached to Plaintiffs’ MSJ, (Appendix 1 to ECF No. 594;
 6    Appendix 1 to ECF No. 633), and ordered the Clerk to accept and file these
 7    documents under seal. Sealing Order at 3. The parties submitted their joint
 8    response to the Sealing Order on September 30, 2021, but requested an extension
 9    to submit the redacted versions of those documents listed in Section C that were
10    not already filed on the public docket. See ECF Nos. 767, 769. The Court granted
11    that extension, directing Defendants to file those documents no later than October
12    13, 2021. See ECF No. 771 (Extension Order).
13           In accordance with the Sealing Order and the Extension Order, Defendants
14    attach hereto the redacted versions of the following documents listed under Section
15    C of this Court’s Sealing Order:
16        1) The transcript of the deposition of David Atkinson, Ex. 3 to Pls.’ MSJ (ECF
17           No. 533-5) and Ex. 2 to Pls.’ MTE (ECF No. 534-4);
18        2) The transcript of the deposition of Todd Hoffman, Ex. 9 to Pls.’ MSJ (ECF
19           No. 533-11), with one additional redaction to the testimony on page 334:7-
20           13;1
21        3) The transcript of the deposition of Rodney Harris, Ex. 14 to Pls.’ MSJ (ECF
22           No. 533-16) and Ex. 8 to Pls.’ MTE (ECF No. 534-10);
23        4) The transcript of the deposition of Michael Humphries, Ex. 16 to Pls.’ MSJ
24
25    1
       In their designated redactions listed in Appendix 1 to Defendants’ Response in
26
      Support of Plaintiffs’ Motion to Seal (ECF No. 594), Defendants mistakenly
      identified 324:7-13 for redaction, yet they meant to identify 334:7-13 instead.
27    Defendants have applied the correct redactions to lines 334:7-13 to the transcript of
28    the deposition of Todd Hoffman, attached hereto, and submit for the Court’s
      approval.


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 1           (ECF No. 533-18);

 2        5) The transcript of the deposition of Mariza Marin, Ex. 17 to Pls.’ MSJ (ECF
 3           No. 533-19) and Ex. 17 to Pls.’ MTE (ECF No. 534-19);
 4        6) The Expert Report of Stephanie Leutert, dated December 10, 2019, Ex. 20 to
 5           Pls.’ MSJ (ECF No. 533-22), Ex. 10 to Pls.’ MTE (ECF No. 534-12), and
 6           Ex. 38 to Pls.’ MSJ Reply (ECF No. 609-39);
 7        7) The transcript of the deposition of Scott Glabe, Ex. 64 to Pls.’ MSJ (ECF No.
 8           533-66);
 9        8) The transcript of the deposition of Frank Longoria, Ex. 100 to Pls.’ MSJ
10           (ECF No. 533-102) and Ex. 3 to Pls.’ MTE (ECF No. 534-5);
11        9) The transcript of the deposition of Samuel Cleaves, Ex. 102 to Pls.’ MSJ
12           (ECF No. 533-104) and Ex. 7 to Pls.’ MTE (ECF No. 534-9); and
13        10) The transcript of the deposition of Joseph Eaton, Ex. 118 to Pls.’ MSJ (ECF
14           No. 533-120) and Ex. 24 to Pls.’ MTE (ECF No. 534-26).2
15
16    DATED: October 13, 2021                Respectfully submitted,
17
                                             BRIAN M. BOYNTON
18                                           Acting Assistant Attorney General
19                                           Civil Division

20                                           WILLIAM C. PEACHEY
21                                           Director
22                                           /s/ Katherine J. Shinners
23                                           KATHERINE J. SHINNERS
                                             Senior Litigation Counsel
24                                           U.S. Department of Justice
25
26
      2
       As previously noted, Defendants already filed redacted versions of the declaration
      of Samuel Cleaves, (Ex. 2 to Defs.’ Opp. To Pls.’ Mot. To Exclude, ECF No. 569-
27    1) and the declaration of Mariza Marin (Ex. 4 to Defs.’ Opp. To Pls.’ Mot. To
28    Exclude, ECF No. 569-2), and thus will not be submitting these documents with
      this Supplemental Response.


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 1                             CERTIFICATE OF SERVICE
 2                                No. 17-cv-02366-BAS-KSC
 3
            I certify that I served a copy of this document on the Court and all parties by
 4
 5     filing this document with the Clerk of Court through the CM/ECF system, which

 6     will provide electronic notice and an electronic link to this document to all
 7
       counsel of record.
 8
 9
10    DATED: October 13, 2021                Respectfully submitted,
11                                           /s/ Katherine J. Shinners
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